






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00683-CR







James Douglas Jones, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF CALDWELL COUNTY, 421ST JUDICIAL DISTRICT


NO. 2003-197, HONORABLE JACK ROBISON, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



In April 2004, appellant James Douglas Jones was placed on deferred adjudication
community supervision after he pleaded guilty to the aggravated assault of a public servant.  See Tex.
Penal Code Ann. § 22.02 (West Supp. 2009).  Following a hearing on September 29, 2008, the trial
court granted the State's motion to adjudicate, adjudged appellant guilty, and sentenced him to
twenty-five years in prison.

Appellant's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that the appeal is frivolous and without merit.  The brief meets the requirements of
Anders v. California, 386 U.S. 738 (1967), by presenting a professional evaluation of the record
demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio,
488&nbsp;U.S.&nbsp;75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's
brief and has filed a pro se brief in response.

We have reviewed the record, counsel's brief, and the pro se brief.  We agree with
counsel that the appeal is frivolous and without merit.  We find nothing in the record that might
arguably support the appeal.  See Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005)
(holding that it is constitutional error for appellate court to address nonmeritorious arguments raised
in pro se response to Anders brief).  Counsel's motion to withdraw is granted.

The judgment of conviction is affirmed.

										


				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Pemberton

Affirmed

Filed:   November 20, 2009

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